                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA



JOHN G. COLOTTI,                        )
                                        )
                             Plaintiff, )
      vs.                               )
                                        )
SECOND STREET INVESTMENTS, LLC,         )
and LEANN JACK,                         )
                                        )                      No. 3:16-cv-0216-HRH
                            Defendants. )
_______________________________________)

                                          ORDER

                                    Settlement Agreement

       Plaintiff John Colotti and defendants Second Street Investments, LLC, and Leann

Jack ( collectively “defendants”) have jointly moved this court for the entry of an order
approving the parties’ settlement agreement and dismissing this case with prejudice.

       The court has reviewed the parties’ Joint Motion to Approve Settlement Agreement

and Memorandum in Support1 and the respective parties’ Settlement Agreement and
Mutual Release of All Claims.2 The court is satisfied that the settlement agreement will
effect a reasonable compromise of hotly disputed issues between the parties.

       Based upon its file and representations of the parties, the court is satisfied that
adequate discovery has been undertaken in this case, that the case has proceeded to the
point where the parties were ready to seek a disposition through summary judgment

practice or, if necessary, trial, that there is no suggestion of fraud or collusion with respect

       1
        Docket No. 26.
       2
        Docket No. 26-1.

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to the settlement, that the parties are represented by experienced counsel, that the named
parties have been fully and completely apprised of the terms and conditions of the
settlement, and that the compromise which the parties have agreed upon reasonably

evaluates the respective parties’ risks if litigation were to be taken to a conclusion.
       The terms and conditions of the parties’ settlement agreement and their mutual
releases of claims are approved.

       The settlement agreement in its preamble and in paragraph 14 appear to
acknowledge that the agreed settlement sum of $141,000 has already been paid by

defendants to plaintiff. However, counsel’s memorandum advises that Second Street
Investments will be paying the $141,000 within 14 days after court approval of the

settlement agreement. Because court approval of the settlement agreement is necessary,

the court assumes that the agreed settlement sum has not yet been paid. The settlement

agreement is now approved, and the agreed upon payment shall be made within 14 days
of the date of this order. Upon receipt of defendants’ payment, plaintiff shall

acknowledge that payment by way of a receipt to defendants; and counsel for plaintiff

shall notify the court that the payment has been received. Upon receipt of that
notification, plaintiff’s complaint will be dismissed with prejudice, the parties to bear
their respective costs and attorney fees except as otherwise provided in the settlement

agreement.
       Accordingly, pending motions are denied as moot; pending deadlines and filing
requirements, other than those herein, are vacated.

       DATED at Anchorage, Alaska, this 19th day of January, 2017.



                                                   /s/ H. Russel Holland
                                                   United States District Judge

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